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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 GERARDO DUBON RAMIREZ, et al.,
     Plaintiffs,
     v.                                                   Civil Action No. 20-1758 (CKK)
 DARIEN DC, LLC, et al.,
      Defendants.

                                            ORDER
                                       (December 21, 2020)

       In light of the parties’ [12] Stipulation of Dismissal with Prejudice pursuant to Fed. R. Civ.

P. 41(a)(1)(A)(ii), it is, this 21st day of December, 2020, hereby

       ORDERED that this case is DISMISSED with prejudice.

       The Clerk of Court shall mail a copy of this Order to Plaintiffs at their addresses of record.

       SO ORDERED.

Dated: December 21, 2020

                                                         /s/
                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge
